               Case 23-11069-CTG   Doc 747-1   Filed 10/03/23   Page 1 of 5



                                      Exhibit 1

                                      Stipulation




DOCS_DE:245159.1 96859/001
                  Case 23-11069-CTG            Doc 747-1         Filed 10/03/23        Page 2 of 5



                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                    )
    In re:                                                          )    Chapter 11
                                                                    )
    YELLOW CORPORATION, et al.,1                                    )    Case No. 23-11069 (CTG)
                                                                    )
                             Debtors.                               )    (Jointly Administered)
                                                                    )
                                                                    )    Re: Docket No. 608

                         JOINT STIPULATION
            BY AND AMONG THE DEBTORS AND GARY W. GIBBY
   TO (I) EXTEND THE DEADLINE TO RESPOND TO MOTION TO LIFT THE
AUTOMATIC STAY AND (II) EXTEND THE HEARING DATES RELATED THERETO

             This joint stipulation (“Stipulation”) is made and entered into by and among (a) the

above-captioned debtors and debtors in possession (the “Debtors”)2 and (b) Gary W. Gibby

(the “Movant,” and together with the Debtors, the “Parties”). The Parties hereby stipulate and

agree as follows:

                                                    RECITALS

             WHEREAS, on August 6, 2023 (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code. These chapter 11 cases have been

consolidated for procedural purposes only and are being jointly administered pursuant to

Bankruptcy Rule 1015(b) [Docket No. 169]. The Debtors are managing their businesses and their

properties as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.



1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’ principal place
      of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.
2     A detailed description of the Debtors and their businesses, including the facts and circumstances giving rise to
      the Debtors’ chapter 11 cases, is set forth in the Declaration of Matthew A. Doheny, Chief Restructuring Officer
      of Yellow Corporation, in Support of the Debtors’ Chapter 11 Petitions and First Day Motions [Docket No. 14]
      (the “First Day Declaration”).


DOCS_DE:245159.1 96859/001
               Case 23-11069-CTG            Doc 747-1        Filed 10/03/23        Page 3 of 5



On August 16, 2023, the United States Trustee for the District of Delaware (the “U.S. Trustee”)

appointed an official committee of unsecured creditors [Docket No. 269] (the “Committee”).

No trustee or examiner has been appointed in these chapter 11 cases;

        WHEREAS, on September 19, 2023, the Movant filed the Motion for Relief from the

Automatic Stay [Docket No. 608] (the “Motion”),1 pursuant to which the deadline for filing a

response was set for October 3, 2023 at 4:00 p.m. (ET) (the “Response Deadline”); and

        WHEREAS, the Parties have conferred and agreed to extend the Response Deadline for

the Debtors and all other parties in interest to respond to the Motion to October 12, 2023 at 4:00

p.m. (ET).

        THEREFORE, IT IS HEREBY STIPULATED AND AGREED, AND UPON APPROVAL

BY THE BANKRUPTCY COURT OF THIS STIPULATION, IT IS SO ORDERED as follows:

        1.       The above recitals are incorporated by reference into this Stipulation with the same

force and effect as if fully set forth hereinafter.

        2.       The Response Deadline for the Debtors and all other parties in interest to Respond

to the Motion is extended through and including October 12, 2023 at 4:00 p.m. (ET).

        3.       For the avoidance of doubt, the Hearing Date for the Motion is October 23, 2023

at 10:00 a.m. (ET), or such other date as may be suitable for the Court’s docket.

        4.       The Parties may mutually agree to further extensions of the response deadline

and/or hearing date by filing a notice with the Court reflecting such extensions.

        5.       Each of the Parties to this Stipulation represents and warrants it is duly authorized

to enter into and be bound by this Stipulation.




1   Capitalized terms used but not immediately defined have the meanings given to them in the Motion.

                                                       5
DOCS_DE:245159.1 96859/001
               Case 23-11069-CTG         Doc 747-1     Filed 10/03/23      Page 4 of 5



        6.       This Stipulation is subject to the approval of the Court and shall be effective upon

entry of an order approving this Stipulation by the Court (the “Order”). The Parties hereby consent

to the entry of the Order and waive any right to notice or hearing on the approval of the Stipulation.

        7.       The Court retains exclusive jurisdiction with respect to any disputes arising from

or other actions to interpret, administer, or enforce the terms and provisions of this Stipulation and

the Order.




                                                  6
DOCS_DE:245159.1 96859/001
               Case 23-11069-CTG   Doc 747-1     Filed 10/03/23   Page 5 of 5




STIPULATED AND AGREED TO THIS 2nd DAY OF OCTOBER, 2023:

Dated: October 2, 2023
Wilmington, Delaware

/s/ Laura Davis Jones
Laura Davis Jones (DE Bar No. 2436)      Patrick J. Nash Jr., P.C. (admitted pro hac vice)
Timothy P. Cairns (DE Bar No. 4228)      David Seligman, P.C. (admitted pro hac vice)
Peter J. Keane (DE Bar No. 5503)         Whitney Fogelberg (admitted pro hac vice)
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                                         Possession

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